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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.


STIPULATION REGARDING CLAIMS THAT ACCRUED BETWEEN NOVEMBER 27,
  2014 AND JULY 31, 2018 AND VOLUNTARY DISMISSAL OF COX’S COUNTER-
                                 CLAIMS

       WHEREAS Plaintiffs filed their Complaint (ECF No. 1) on July 31, 2018 alleging certain

claims against Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”),

and seeking relief only for “claims of infringement that accrued from February 2013 through No-

vember 2014.” ECF No. 1, Compl., ¶ 10.

       WHEREAS Cox answered Plaintiffs’ allegations and asserted certain Counterclaims on

September 24, 2018. ECF No. 21.

       WHEREAS Plaintiffs represented the following in briefing on their Motion to Dismiss

Cox’s Counterclaims: “Plaintiffs take no position on the propriety of Cox’s actions after Novem-

ber 2014; but Plaintiffs are also not trying to leave open the possibility of a second lawsuit for a

later period. In any event, to avoid doubt Plaintiffs expressly represent that, in this litigation or

otherwise, they will not pursue claims against Cox for copyright infringement of Plaintiffs’ works,

arising from activities that took place through Cox’s network between November 27, 2014 and the

filing of the Complaint.” ECF No. 33 at 12; ECF No. 33-1 (Declaration of Jeffrey M. Gould), ¶

3.
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       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs and Cox (col-

lectively, the “Parties”) that Plaintiffs shall not pursue claims against Cox, in this litigation or

otherwise, for copyright infringement of Plaintiffs’ works, arising from activities that took place

through Cox’s network between November 27, 2014 and July 31, 2018.

       IT IS FURTHER STIPULATED AND AGREED by and between the Parties that Cox

hereby voluntarily dismisses its Counterclaims with prejudice.

       IT IS FURTHER STIPULATED AND AGREED by and between the Parties that this Stip-

ulation is a compromise of claims that accrued on or after November 27, 2014 and is not relevant

to Plaintiffs’ claims that accrued before November 27, 2014. Accordingly, this Stipulation and/or

the fact of this Stipulation may not be used for any purpose in this litigation or otherwise, except

to enforce the Stipulation itself, or if an issue arises in this litigation about the fact that Cox’s

counterclaims were voluntarily dismissed, in order to explain the context of the dismissal.

Dated: November 5, 2018               Respectfully submitted,

                                                      /s/ Scott A. Zebrak
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 ORDER REGARDING CLAIMS THAT ACCRUED BETWEEN NOVEMBER 27, 2014
      AND JULY 31, 2018 AND DISMISSAL OF COX’S COUNTERCLAIMS

        IT IS HEREBY ORDERED that Plaintiffs shall not pursue claims against Cox, in this liti-

gation or otherwise, for copyright infringement of Plaintiffs’ works, arising from activities that

took place through Cox’s network between November 27, 2014 and July 31, 2018.

        IT IS FURTHER ORDERED that Cox’s Counterclaims are hereby dismissed with preju-

dice.

        IT IS FURTHER ORDERED that this Order, and the Parties’ Stipulation thereto, is a com-

promise of claims that accrued on or after November 27, 2014 and is not relevant to Plaintiffs’

claims that accrued before November 27, 2014. Accordingly, this Stipulation and/or the fact of

this Stipulation may not be used for any purpose in this litigation or otherwise, except to enforce

the Stipulation itself, or if an issue arises in this litigation about the fact that Cox’s counterclaims

were voluntarily dismissed, in order to explain the context of the dismissal.

        ENTERED this _______ day of ___________________, 2018



Alexandria, Virginia                                           __________________________
                                                               The Honorable Liam O’Grady
                                                               United States District Judge
                                                               Eastern District of Virginia




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                               CERTIFICATE OF SERVICE

       I certify that on November 5, 2018, a copy of the foregoing STIPULATION REGARDING

CLAIMS THAT ACCRUED BETWEEN NOVEMBER 27, 2014 AND JULY 31, 2018 AND

VOLUNTARY DISMISSAL OF COX’S COUNTERCLAIMS was filed electronically with the

Clerk of Court using the ECF system which will send notifications to ECF participants.

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